Van−201 [AP Notice of Telephonic Hearing] (06/20)

                       UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                          Case No. 19−82310−CRJ13
Ruth Mercado                                                                    Chapter 13
        Debtor(s)

                                                                                AP No. 20−80059−CRJ
Ruth Mercado
        Plaintiff(s)
vs.
SN Servicing Corporation
et al.
        Defendant(s)

                                   NOTICE OF TELEPHONIC HEARING
      Notice is hereby given that a telephonic hearing will be held in the above−referenced case on Monday, October
26, 2020 at 11:00 AM to consider and act upon the following:

31 − Motion to Approve Compromise under Rule 9019 and settlement and application for approval of attorney's fee
Filed by Plaintiff Ruth Mercado (Larsen, John)

32 − Application for Compensation of attorney's fee for John C. Larsen, Debtor's Attorney, Period: 4/20/2020 to
10/28/2020, Fee: $3600.00, Expenses: $. Filed by Attorney John C. Larsen (Larsen, John)

      The hearing will be held via an AT&T call−in number. You can find the call−in number and passcode on the
Court's webpage at www.alnb.uscourts.gov. (Each Judge in the District has a specific call−in number. From the
homepage, click the "Judges" tab and select the Judge assigned to the case. If you cannot locate the dial−in−number
on the website, you may call the Clerk's office at 205−714−4000.) Other cases or matters may be scheduled for
telephonic hearing at the same time. Parties should call in five minutes prior to the start of the hearing. Once
connected, please mute your phone until your case is called. After your hearing is completed, please hang up to end
your call. To avoid disruption, telephonic hearing participants are expected to call from a quiet location and are not
permitted to use a "speaker" function or to place the call on hold (as this may cause music or other noises to play
during the hearings of other participants). Participants are encouraged to call from a landline if possible.
      THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO THE
COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL INFORMATION
(www.alnb.uscourts.gov).

Dated: September 30, 2020                                  By:

                                                           Joseph E. Bulgarella, Clerk
                                                           United States Bankruptcy Court
scm




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